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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                  DUBLIN DIVISION

TERESA POPE HOOKS, individually                      )
and ESTATE OF DAVID HOOKS,                           )
by Teresa Pope Hooks, Administratrix                 )
                                                     )
             Plaintiff,                              )      CIVIL ACTION FILE NO.:
                                                     )      3:16-CV-00023-DHB-BKE
v.                                                   )
                                                     )
CHRISTOPHER BREWER,                                  )
in his individual capacity.                          )
                                                     )
             Defendant.                              )

DEFENDANT’S REPLY BRIEF IN SUPPORT OF HIS MOTION FOR LEAVE TO FILE
  RENEWED MOTION FOR SUMMARY JUDGMENT AND MOTION FOR ORAL
                      ARGUMENT UPON SAME

       COMES NOW Christopher Brewer (hereinafter “Defendant”) and files this reply brief in

support of his Motion for Leave to File Renewed Motion for Summary Judgment. Pursuant to

Local Rule 7.2, Defendant requests oral argument and, consistent with the rule, estimates any

hearing will take less than two (2) hours. Defendant shows the Court the following:

                      ARGUMENT AND CITATION TO AUTHORITY

       Plaintiff’s response to Defendant’s Petition suffers from two inescapable realities:

       One: Upon oral argument, this Court asked plaintiff counsel if there was any witness who

could dispute the police officers’ testimony that Mr. Hooks raised his weapon before being shot.

In response, before this Court and the Eleventh Circuit (and in Plaintiff’s briefs), counsel could

identify no such witness/evidence. The Eleventh Circuit did not embrace the fact finding from

this Court’s summary judgment order to the effect that officers did not knock/announce, that David

Hooks was shot while running down the hallway with a gun at his side, or that Hooks never pointed
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the gun at the officers. Once and for all, the following quote from the Eleventh Circuit’s ruling

exists and favors an evaluation of Defendant’s Petition and motion for partial summary judgment:

       As officers began pounding on the back door, Hooks came out of a bedroom,
       holding a gun…Deputy Kasey Loyd, an officer involved in the execution of the
       warrant, said he saw a man and woman through the backdoor window and police
       knocked for about thirty seconds before entering the house. At that point, Hooks
       ran toward the dining room, shotgun in hand. That was the last time Teresa saw her
       husband alive. Seconds later, police fired shots, killing Hooks after, officers claim,
       he raised his gun.

Doc. 149, p. 6. These may very well be what the officers “say” but there is not a shred of contrary

testimony in this substantial record.

       Two: Plaintiff’s visceral protestations aside, Defendant’s request in no way delays trial

and is admittedly something that is subject to the discretion of this Court. However, where justice

is concerned and facts must be made clear with respect to what if any issues will proceed to trial,

it is incumbent upon this Court to exercise its discretion and consider the just ends sought in

Defendant’s Petition. Broughton v. Sch. Bd. of Escambia Cty., Fla., 540 Fed. Appx. 907, 910 (11th

Cir. 2013).

       It is telling that Plaintiff spends more time stating the obvious - that the Petition seeks relief

outside of standard procedural time frames - as opposed to identifying why precedent does not

support the further evaluation of summary judgment given the migration of established facts and

fact findings that has occurred with regard to the circumstances and claims remaining. With all

due respect, Plaintiff’s brief opposing this Petition displays more foot-stomping about alleged foot-

dragging than it does citing case support for Plaintiff’s position. Plaintiff repeatedly suggests ill

motive and impropriety but cites not a single case to support Plaintiff’s contentions. Specifically,

Defendant has pointed out and acknowledged case law that gives this Court discretion. That said,

the cases cited in Defendant’s Petition specifically support a trial court’s exercise of that discretion

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despite the passage of time when justice and due process call for issues to be addressed, regardless

of procedural posture. Plaintiff’s brief stands silent in this regard. Putting Plaintiff’s timing

arguments aside, Plaintiff’s brief is short on legal argument against the substantive law on the

underlying issues.

       A review of the case law with regard to the substance of the Petition makes clear that this

issue should be considered and addressed by the Court and that it can be done without any impact

on the scheduling of the trial after briefing and oral argument is completed prior to the end of this

calendar year. At a minimum, this Court should allow full briefing and convene an oral argument

to permit the Court to evaluate what facts are in place with regard to this case and whether the facts

in place support summary judgment with respect to a claim for a wrongful death that occurred

hours and miles away from the alleged constitutional infraction of securing a search warrant, which

was allegedly constitutionally flawed.

       Perhaps most telling is the fact that Plaintiff protests that the facts with regard to the

decedent’s shooting and wrongful death present a jury issue and yet Plaintiff has never pursued a

wrongful death claim against any of the officers who actually shot David Hooks. The Court must

ask itself if the facts support something other than a justified shooting by the officers executing

the warrant, why would a clearly extremely competently represented plaintiff forgo making such

claims? The reason, like the need for the Court to evaluate summary judgment on wrongful death

claims against this Defendant, is obvious: Plaintiff’s death, to the extent associated with the

warrant and its attempted execution, was proximately and, as a matter of law, caused by decedent

David Hooks in his decision and act of shouldering and pointing a shotgun at the officers.

Certainly, there is no legally actionable causal link between any alleged constitutionally challenged

conduct of Defendant and the death of David Hooks.

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       Accordingly, Defendant prays the Court schedule oral argument, grant the Petition and

permit briefing and oral argument upon Defendant’s proposed renewed motion for partial

summary judgment and, thereafter, grant said motion for partial summary judgment.

       This 9th day of November, 2021.

                                           Respectfully submitted,

                                           BUCKLEY CHRISTOPHER P.C.

                                           /s/ Timothy J. Buckley III
                                           ______________________________
                                           TIMOTHY J. BUCKLEY III
                                           Georgia State Bar No. 092913
2970 Clairmont Road, N.E.                  KELLY L. CHRISTOPHER
Suite 650                                  Georgia State Bar No. 609879
Atlanta, Georgia 30329                     Attorneys for Defendant
(404) 633-9230
(404) 633-9640 (facsimile)
tbuckley@bchlawpc.com
kchristopher@bchlawpc.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 9, 2021, I electronically filed DEFENDANT’S REPLY

BRIEF IN SUPPORT OF HIS MOTION FOR LEAVE TO FILE RENEWED MOTION FOR

SUMMARY JUDGMENT upon all parties to this matter using the CM/ECF system which will

automatically send email notification of such filing to the following attorneys of record:

                                     Mitchell M. Shook, Esq.
                                     Salter, Shook & Tippett
                                        P. O. Drawer 300
                                       Vidalia, GA 30475

                                       Brian Spears, Esq.
                                    1126 Ponce de Leon Ave.
                                       Atlanta, GA 30306


                                              BUCKLEY CHRISTOPHER, P.C.

                                              /s/ Timothy J. Buckley III
                                              _________________________
                                              TIMOTHY J. BUCKLEY III
                                              Georgia State Bar No.092913
                                              KELLY L. CHRISTOPHER
                                              Georgia State Bar No. 609879
2970 Clairmont Road N.E.                      Attorneys for Defendant
Suite 650
Atlanta, Georgia 30329
(404) 633-9230
(404) 633-9640 (facsimile)
tbuckley@bchlawpc.com
kchristopher@bchlawpc.com




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